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 5
     ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 6   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 7

 8                          UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF ARIZONA
10
11   H K B Inc., an Arizona C01]>9ration,          CASE NO. 2:16-cv-03799-DJH
     doing_ business as SOUTHWEST
12   INDUSTRIAL RIGGING
                                                   NOTICE OF CERTIFICATION OF
13                       Plaintiff,                CONFERRAL

14   v.
15   BOARD OF TRUSTEES FOR THE
     CARPENTERS SOUTHWEST
16   TRUSTS;, erroneously sued as BOARD
     OF TRU~TEES FOR THE SOUTHWES
17   CARPENTER'S SOUTHWEST
     TRUST; CARPENTERS SOUTHWEST
18   ADMINISTRATIVE CORPORATION,
     a California non-profit corporation;
19
                         Defendants.
20
21           This Notice of Certification of Conferral is filed on behalf of the BOARD
22   OF TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS, erroneously
23   sued as BOARD OF TRUSTEES FOR THE SOUTHWEST CARPENTER'S
24   SOUTHWEST TRUST and the CARPENTERS SOUTHWEST
25   ADMINISTRATIVE CORPORATION (collectively "Defendants").
26           Pursuant to the Court's Order dated November 3, 2016, I met and conferred
27   with opposing counsel prior to filing Defendants' Motion to Dismiss Pursuant to
28   FRCP 12(b)(3 ), (6), (7), Or, in the Alternative, to Stay Action in order to determine
       Case 2:16-cv-03799-DJH Document 12 Filed 11/22/16 Page 2 of 3


 1   whether an amendment could cure the deficient Complaint. Opposing counsel and
 2   I were unable to reach agreement as to this matter.
 3         Dated this 22"d day ofNovember 2016.
 4

 5                                          DeCARLO & SHANLEY,
                                            a Professional corporation,
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 7                                          By:~/1.1'/e/#.
                                               I ANIEL M.
                                                             fkdft
                                                               ANLEY
 8                                          Attorneys for Defendants
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                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on November '» , 2016, I electronically transmitted the attached
    document, Notice of Certification of Conferral, to the Clerk's Office using the
    CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the
    following CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com



X   I hereby certify that on November ~J_, 2016, I served the attached document by U.S.
    Mail, postage prepaid thereon on the following, who are not registered participants of the
    CM/ECF System.

          Javier Torres
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          Phoenix, Arizona 85004
